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 9
                           UNITED STATES DISTRICT COURT
10
                        CENTRAL DISTRICT OF CALIFORNIA
11                                            ) Case No.
     DAVID ABITBOL individually and on )
12
     behalf of all others similarly situated, ) CLASS ACTION
13                                            )
14   Plaintiff,                               ) COMPLAINT FOR VIOLATIONS
                                              ) OF:
15          vs.                               )
16                                            )    1. NEGLIGENT VIOLATIONS
                                                         OF THE TELEPHONE
     SUNERGY, INC.; and VOLTAIC,              )          CONSUMER PROTECTION
17
     INC., and DOES 1 through 10,             )          ACT [47 U.S.C. §227(b)]
18   inclusive, and each of them,             )    2.    WILLFUL VIOLATIONS
                                                         OF THE TELEPHONE
19                                            )          CONSUMER PROTECTION
     Defendant.                               )          ACT [47 U.S.C. §227(b)]
20                                            )    3.    NEGLIGENT VIOLATIONS
                                                         OF THE TELEPHONE
21                                            )          CONSUMER PROTECTION
                                              )          ACT [47 U.S.C. §227(c)]
22                                                 4.    WILLFUL VIOLATIONS
                                              )
                                                         OF THE TELEPHONE
23                                            )          CONSUMER PROTECTION
                                              )          ACT [47 U.S.C. §227(c)]
24
                                              )
25                                            )
26                                            ) DEMAND FOR JURY TRIAL
                                              )
27                                            )
28                                            )


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 1         Plaintiff DAVID ABITBOL (“Plaintiff”), individually and on behalf of all
 2   others similarly situated, alleges the following upon information and belief based
 3   upon personal knowledge:
 4                               NATURE OF THE CASE
 5         1.     Plaintiff brings this action individually and on behalf of all others
 6   similarly situated seeking damages and any other available legal or equitable
 7   remedies resulting from the illegal actions of SUNERGY, INC., VOLTAIC, INC.
 8   and other related entities referred to as Defendant (“Defendant”), in negligently,
 9   knowingly, and/or willfully contacting Plaintiff on Plaintiff’s cellular telephone in
10   violation of the Telephone Consumer Protection Act, 47. U.S.C. § 227 et seq.
11   (“TCPA”) and related regulations, specifically the National Do-Not-Call
12   provisions, thereby invading Plaintiff’s privacy.
13                             JURISDICTION & VENUE
14         2.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
15   a resident of California, seeks relief on behalf of a Class, which will result in at
16   least one class member belonging to a different state than that of Defendant, a
17   Florida company. Plaintiff also seeks up to $1,500.00 in damages for each call in
18   violation of the TCPA, which, when aggregated among a proposed class in the
19   thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
20   Therefore, both diversity jurisdiction and the damages threshold under the Class
21   Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
22         3.     Venue is proper in the United States District Court for the Central
23   District of California pursuant to 28 U.S.C. 1391(b) and because Defendant does
24   business within the State of California and Plaintiff resides within the County of
25   Los Angeles.
26                                       PARTIES
27         4.     Plaintiff, DAVID ABITBOL (“Plaintiff”), is a natural person residing
28   in Chatsworth, California and is a “person” as defined by 47 U.S.C. § 153 (39).


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 1         5.     Defendant, SUNERGY, INC. (“Defendant”) is a home services
 2   company, and is a “person” as defined by 47 U.S.C. § 153 (39).
 3         6.     The above named Defendant, and its subsidiaries and agents, are
 4   collectively referred to as “Defendants.” The true names and capacities of the
 5   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 6   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 7   names. Each of the Defendants designated herein as a DOE is legally responsible
 8   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 9   Complaint to reflect the true names and capacities of the DOE Defendants when
10   such identities become known.
11         7.     Plaintiff is informed and believes that at all relevant times, each and
12   every Defendant was acting as an agent and/or employee of each of the other
13   Defendants and was acting within the course and scope of said agency and/or
14   employment with the full knowledge and consent of each of the other Defendants.
15   Plaintiff is informed and believes that each of the acts and/or omissions complained
16   of herein was made known to, and ratified by, each of the other Defendants.
17                              FACTUAL ALLEGATIONS
18         8.     Beginning in or around April 2020, Defendant contacted Plaintiff on
19   Plaintiff’s cellular telephone number ending in -6443, in an attempt to solicit
20   Plaintiff to purchase Defendant’s services.
21         9.     Defendant used an “automatic telephone dialing system” as defined
22   by 47 U.S.C. § 227(a)(1) to place its call to Plaintiff seeking to solicit its services.
23         10.    Defendant contacted or attempted to contact Plaintiff from telephone
24   number (530) 384-8126.
25         11.    Defendant’s calls constituted calls that were not for emergency
26   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
27         12.    During all relevant times, Defendant did not possess Plaintiff’s “prior
28   express consent” to receive calls using an automatic telephone dialing system or an


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 1   artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
 2   227(b)(1)(A).
 3         13.    Further, Plaintiff’s cellular telephone number ending in -6443 was
 4   added to the National Do-Not-Call Registry on or about February 18, 2020.
 5         14.    Defendant placed multiple calls soliciting its business to Plaintiff on
 6   his cellular telephone ending in -6443 in or around April 2020.
 7         15.    Such calls constitute solicitation calls pursuant to 47 C.F.R. §
 8   64.1200(c)(2) as they were attempts to promote or sell Defendant’s services.
 9         16.    Plaintiff received numerous solicitation calls from Defendant within a
10   12-month period.
11         17.    Plaintiff requested for Defendant to stop calling Plaintiff during one
12   of the initial calls from Defendant, thus revoking any prior express consent that had
13   existed and terminating any established business relationship that had existed, as
14   defined under 16 C.F.R. 310.4(b)(1)(iii)(B).
15         18.    Despite this, Defendant continued to call Plaintiff in an attempt to
16   solicit its services and in violation of the National Do-Not-Call provisions of the
17   TCPA.
18         19.    Upon information and belief, and based on Plaintiff’s experiences of
19   being called by Defendant after requesting they stop calling, and at all relevant
20   times, Defendant failed to establish and implement reasonable practices and
21   procedures to effectively prevent telephone solicitations in violation of the
22   regulations prescribed under 47 U.S.C. § 227(c)(5).
23                               CLASS ALLEGATIONS
24         20.    Plaintiff brings this action individually and on behalf of all others
25   similarly situated, as a member the four proposed classes (hereafter, jointly, “The
26   Classes”). The class concerning the ATDS claim for no prior express consent
27   (hereafter “The ATDS Class”) is defined as follows:
28



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 1                 All persons within the United States who received any
                   solicitation/telemarketing   telephone   calls    from
 2                 Defendant to said person’s cellular telephone made
 3                 through the use of any automatic telephone dialing
                   system or an artificial or prerecorded voice and such
 4
                   person had not previously consented to receiving such
 5                 calls within the four years prior to the filing of this
 6
                   Complaint

 7
           21.     The class concerning the ATDS claim for revocation of consent, to the
 8
     extent prior consent existed (hereafter “The ATDS Revocation Class”) is defined
 9
     as follows:
10
11                 All persons within the United States who received any
                   solicitation/telemarketing     telephone      calls    from
12
                   Defendant to said person’s cellular telephone made
13                 through the use of any automatic telephone dialing
                   system or an artificial or prerecorded voice and such
14
                   person had revoked any prior express consent to receive
15                 such calls prior to the calls within the four years prior to
16                 the filing of this Complaint.
17
           22.     The class concerning the National Do-Not-Call violation (hereafter
18
     “The DNC Class”) is defined as follows:
19
20                 All persons within the United States registered on the
                   National Do-Not-Call Registry for at least 30 days, who
21
                   had not granted Defendant prior express consent nor had
22                 a prior established business relationship, who received
23                 more than one call made by or on behalf of Defendant
                   that promoted Defendant’s products or services, within
24                 any twelve-month period, within four years prior to the
25                 filing of the complaint.
26         23.     The class concerning the National Do-Not-Call violation following
27   revocation of consent and prior business relationship, to the extent they existed
28   (hereafter “The DNC Revocation Class”) is defined as follows:


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 1
                  All persons within the United States registered on the
 2                National Do-Not-Call Registry for at least 30 days, who
 3                received more than one call made by or on behalf of
                  Defendant that promoted Defendant’s products or
 4
                  services, after having revoked consent and any prior
 5                established business relationship, within any twelve-
 6
                  month period, within four years prior to the filing of the
                  complaint.
 7
 8         24.    Plaintiff represents, and is a member of, The ATDS Class, consisting
 9   of all persons within the United States who received any solicitation telephone calls
10   from Defendant to said person’s cellular telephone made through the use of any
11   automatic telephone dialing system or an artificial or prerecorded voice and such
12   person had not previously not provided their cellular telephone number to
13   Defendant within the four years prior to the filing of this Complaint.
14         25.    Plaintiff represents, and is a member of, The ATDS Revocation Class,
15   consisting of all persons within the United States who received any
16   solicitation/telemarketing telephone calls from Defendant to said person’s cellular
17   telephone made through the use of any automatic telephone dialing system or an
18   artificial or prerecorded voice and such person had revoked any prior express
19   consent to receive such calls prior to the calls within the four years prior to the
20   filing of this Complaint.
21         26.    Plaintiff represents, and is a member of, The DNC Class, consisting
22   of all persons within the United States registered on the National Do-Not-Call
23   Registry for at least 30 days, who had not granted Defendant prior express consent
24   nor had a prior established business relationship, who received more than one call
25   made by or on behalf of Defendant that promoted Defendant’s products or services,
26   within any twelve-month period, within four years prior to the filing of the
27   complaint.
28         27.    Plaintiff represents, and is a member of, The DNC Revocation Class,


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 1   consisting of all persons within the United States registered on the National Do-
 2   Not-Call Registry for at least 30 days, who received more than one call made by or
 3   on behalf of Defendant that promoted Defendant’s products or services, after
 4   having revoked consent and any prior established business relationship, within any
 5   twelve-month period, within four years prior to the filing of the complaint.
 6         28.    Defendant, its employees and agents are excluded from The Classes.
 7   Plaintiff does not know the number of members in The Classes, but believes the
 8   Classes members number in the thousands, if not more. Thus, this matter should
 9   be certified as a Class Action to assist in the expeditious litigation of the matter.
10         29.    The Classes are so numerous that the individual joinder of all of its
11   members is impractical. While the exact number and identities of The Classes
12   members are unknown to Plaintiff at this time and can only be ascertained through
13   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
14   The Classes includes thousands of members. Plaintiff alleges that The Classes
15   members may be ascertained by the records maintained by Defendant.
16         30.    Plaintiff and members of The ATDS Class and The ATDS Revocation
17   Class were harmed by the acts of Defendant in at least the following ways:
18   Defendant illegally contacted Plaintiff and ATDS Class members via their cellular
19   telephones thereby causing Plaintiff and ATDS Class and ATDS Revocation Class
20   members to incur certain charges or reduced telephone time for which Plaintiff and
21   ATDS Class and ATDS Revocation Class members had previously paid by having
22   to retrieve or administer messages left by Defendant during those illegal calls, and
23   invading the privacy of said Plaintiff and ATDS Class and ATDS Revocation Class
24   members.
25         31.    Common questions of fact and law exist as to all members of The
26   ATDS Class which predominate over any questions affecting only individual
27   members of The ATDS Class. These common legal and factual questions, which
28   do not vary between ATDS Class members, and which may be determined without


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 1   reference to the individual circumstances of any ATDS Class members, include,
 2   but are not limited to, the following:
 3                a.     Whether, within the four years prior to the filing of this
 4                       Complaint, Defendant made any telemarketing/solicitation call
 5                       (other than a call made for emergency purposes or made with
 6                       the prior express consent of the called party) to a ATDS Class
 7                       member using any automatic telephone dialing system or any
 8                       artificial or prerecorded voice to any telephone number
 9                       assigned to a cellular telephone service;
10                b.     Whether Plaintiff and the ATDS Class members were damaged
11                       thereby, and the extent of damages for such violation; and
12                c.     Whether Defendant should be enjoined from engaging in such
13                       conduct in the future.
14         32.    As a person that received numerous telemarketing/solicitation calls
15   from Defendant using an automatic telephone dialing system or an artificial or
16   prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
17   claims that are typical of The ATDS Class.
18         33.    Common questions of fact and law exist as to all members of The
19   ATDS Revocation Class which predominate over any questions affecting only
20   individual members of The ATDS Revocation Class. These common legal and
21   factual questions, which do not vary between ATDS Revocation Class members,
22   and which may be determined without reference to the individual circumstances of
23   any ATDS Revocation Class members, include, but are not limited to, the
24   following:
25                a.     Whether, within the four years prior to the filing of this
26                       Complaint, Defendant made any telemarketing/solicitation call
27                       (other than a call made for emergency purposes or made with
28                       the prior express consent of the called party) to an ATDS


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 1                       Revocation Class member, who had revoked any prior express
 2                       consent to be called using an ATDS, using any automatic
 3                       telephone dialing system or any artificial or prerecorded voice
 4                       to any telephone number assigned to a cellular telephone
 5                       service;
 6                b.     Whether Plaintiff and the ATDS Revocation Class members
 7                       were damaged thereby, and the extent of damages for such
 8                       violation; and
 9                c.     Whether Defendant should be enjoined from engaging in such
10                       conduct in the future.
11         34.    As a person that received numerous telemarketing/solicitation calls
12   from Defendant using an automatic telephone dialing system or an artificial or
13   prerecorded voice, after Plaintiff had revoked any prior express consent, Plaintiff
14   is asserting claims that are typical of The ATDS Revocation Class.
15         35.    Plaintiff and members of The DNC Class and DNC Revocation Class
16   were harmed by the acts of Defendant in at least the following ways: Defendant
17   illegally contacted Plaintiff and DNC Class and DNC Revocation Class members
18   via their telephones for solicitation purposes, thereby invading the privacy of said
19   Plaintiff and the DNC Class and DNC Revocation Class members whose telephone
20   numbers were on the National Do-Not-Call Registry. Plaintiff and the DNC Class
21   and DNC Revocation Class members were damaged thereby.
22         36.    Common questions of fact and law exist as to all members of The
23   DNC Class which predominate over any questions affecting only individual
24   members of The DNC Class. These common legal and factual questions, which do
25   not vary between DNC Class members, and which may be determined without
26   reference to the individual circumstances of any DNC Class members, include, but
27   are not limited to, the following:
28                a.     Whether, within the four years prior to the filing of this


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 1                      Complaint, Defendant or its agents placed more than one
 2                      solicitation call to the members of the DNC Class whose
 3                      telephone numbers were on the National Do-Not-Call Registry
 4                      and who had not granted prior express consent to Defendant and
 5                      did not have an established business relationship with
 6                      Defendant;
 7               b.     Whether Defendant obtained prior express written consent to
 8                      place solicitation calls to Plaintiff or the DNC Class members’
 9                      telephones;
10               c.     Whether Plaintiff and the DNC Class member were damaged
11                      thereby, and the extent of damages for such violation; and
12               d.     Whether Defendant and its agents should be enjoined from
13                      engaging in such conduct in the future.
14         37.   As a person that received numerous solicitation calls from Defendant
15   within a 12-month period, who had not granted Defendant prior express consent
16   and did not have an established business relationship with Defendant, Plaintiff is
17   asserting claims that are typical of the DNC Class.
18         38.   Common questions of fact and law exist as to all members of The
19   DNC Class which predominate over any questions affecting only individual
20   members of The DNC Revocation Class.            These common legal and factual
21   questions, which do not vary between DNC Revocation Class members, and which
22   may be determined without reference to the individual circumstances of any DNC
23   Revocation Class members, include, but are not limited to, the following:
24               a.     Whether, within the four years prior to the filing of this
25                      Complaint, Defendant or its agents placed more than one
26                      solicitation call to the members of the DNC Class whose
27                      telephone numbers were on the National Do-Not-Call Registry
28                      and who had revoked any prior express consent and any


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 1                      established business relationship with Defendant;
 2                b.    Whether Plaintiff and the DNC Class member were damaged
 3                      thereby, and the extent of damages for such violation; and
 4                c.    Whether Defendant and its agents should be enjoined from
 5                      engaging in such conduct in the future.
 6         39.    As a person that received numerous solicitation calls from Defendant
 7   within a 12-month period, who, to the extent one existed, had revoked any prior
 8   express consent and any established business relationship with Defendant, Plaintiff
 9   is asserting claims that are typical of the DNC Revocation Class.
10         40.    Plaintiff will fairly and adequately protect the interests of the members
11   of The Classes. Plaintiff has retained attorneys experienced in the prosecution of
12   class actions.
13         41.    A class action is superior to other available methods of fair and
14   efficient adjudication of this controversy, since individual litigation of the claims
15   of all Classes members is impracticable. Even if every Classes member could
16   afford individual litigation, the court system could not.       It would be unduly
17   burdensome to the courts in which individual litigation of numerous issues would
18   proceed. Individualized litigation would also present the potential for varying,
19   inconsistent, or contradictory judgments and would magnify the delay and expense
20   to all parties and to the court system resulting from multiple trials of the same
21   complex factual issues. By contrast, the conduct of this action as a class action
22   presents fewer management difficulties, conserves the resources of the parties and
23   of the court system, and protects the rights of each Classes member.
24         42.    The prosecution of separate actions by individual Classes members
25   would create a risk of adjudications with respect to them that would, as a practical
26   matter, be dispositive of the interests of the other Classes members not parties to
27   such adjudications or that would substantially impair or impede the ability of such
28   non-party Class members to protect their interests.


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 1         43.     Defendant has acted or refused to act in respects generally applicable
 2   to The Classes, thereby making appropriate final and injunctive relief with regard
 3   to the members of the Classes as a whole.
 4                             FIRST CAUSE OF ACTION
 5          Negligent Violations of the Telephone Consumer Protection Act
 6                                    47 U.S.C. §227(b).
 7               On Behalf of the ATDS Class and ATDS Revocation Class
 8         44.     Plaintiff repeats and incorporates by reference into this cause of action
 9   the allegations set forth above at Paragraphs 1-44.
10         45.     The foregoing acts and omissions of Defendant constitute numerous
11   and multiple negligent violations of the TCPA, including but not limited to each
12   and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
13   47 U.S.C. § 227 (b)(1)(A).
14         46.     As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),
15   Plaintiff and the Class Members are entitled an award of $500.00 in statutory
16   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
17         47.     Plaintiff and the ATDS Class and ATDS Revocation Class members
18   are also entitled to and seek injunctive relief prohibiting such conduct in the future.
19                            SECOND CAUSE OF ACTION
20    Knowing and/or Willful Violations of the Telephone Consumer Protection
21                                            Act
22                                    47 U.S.C. §227(b)
23           On Behalf of the ATDS Class and the ATDS Revocation Class
24         48.     Plaintiff repeats and incorporates by reference into this cause of action
25   the allegations set forth above at Paragraphs 1-44.
26         49.     The foregoing acts and omissions of Defendant constitute numerous
27   and multiple knowing and/or willful violations of the TCPA, including but not
28   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),


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 1   and in particular 47 U.S.C. § 227 (b)(1)(A).
 2            50.   As a result of Defendant’s knowing and/or willful violations of 47
 3   U.S.C. § 227(b), Plaintiff and the ATDS Class and ATDS Revocation Class
 4   members are entitled an award of $1,500.00 in statutory damages, for each and
 5   every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 6            51.   Plaintiff and the Class members are also entitled to and seek injunctive
 7   relief prohibiting such conduct in the future.
 8                              THIRD CAUSE OF ACTION
 9            Negligent Violations of the Telephone Consumer Protection Act
10                                     47 U.S.C. §227(c)
11              On Behalf of the DNC Class and the DNC Revocation Class
12            52.   Plaintiff repeats and incorporates by reference into this cause of action
13   the allegations set forth above at Paragraphs 1-44.
14            53.   The foregoing acts and omissions of Defendant constitute numerous
15   and multiple negligent violations of the TCPA, including but not limited to each
16   and every one of the above cited provisions of 47 U.S.C. § 227(c), and in particular
17   47 U.S.C. § 227 (c)(5).
18            54.   As a result of Defendant’s negligent violations of 47 U.S.C. § 227(c),
19   Plaintiff and the DNC Class and DNC Revocation Class Members are entitled an
20   award of $500.00 in statutory damages, for each and every violation, pursuant to
21   47 U.S.C. § 227(c)(5)(B).
22            55.   Plaintiff and the DNC Class and DNC Revocation Class members are
23   also entitled to and seek injunctive relief prohibiting such conduct in the future.
24   ///
25
26                             FOURTH CAUSE OF ACTION
27    Knowing and/or Willful Violations of the Telephone Consumer Protection
28                                             Act


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 1                                 47 U.S.C. §227 et seq.
 2               On Behalf of the DNC Class and DNC Revocation Class
 3         56.    Plaintiff repeats and incorporates by reference into this cause of action
 4   the allegations set forth above at Paragraphs 1-44.
 5         57.    The foregoing acts and omissions of Defendant constitute numerous
 6   and multiple knowing and/or willful violations of the TCPA, including but not
 7   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(c),
 8   in particular 47 U.S.C. § 227 (c)(5).
 9         58.    As a result of Defendant’s knowing and/or willful violations of 47
10   U.S.C. § 227(c), Plaintiff and the DNC Class and DNC Revocation Class members
11   are entitled an award of $1,500.00 in statutory damages, for each and every
12   violation, pursuant to 47 U.S.C. § 227(c)(5).
13         59.    Plaintiff and the DNC Class and DNC Revocation Class members are
14   also entitled to and seek injunctive relief prohibiting such conduct in the future.
15                                PRAYER FOR RELIEF
16   WHEREFORE, Plaintiff requests judgment against Defendant for the following:
17                             FIRST CAUSE OF ACTION
18          Negligent Violations of the Telephone Consumer Protection Act
19                                   47 U.S.C. §227(b)
20               • As a result of Defendant’s negligent violations of 47 U.S.C.
21                §227(b)(1), Plaintiff and the ATDS Class and ATDS Revocation
22                Class members are entitled to and request $500 in statutory damages,
23                for each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B).
24               • Any and all other relief that the Court deems just and proper.
25
26
27                           SECOND CAUSE OF ACTION
28



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 1   Knowing and/or Willful Violations of the Telephone Consumer Protection
 2                                         Act
 3                                   47 U.S.C. §227(b)
 4             • As a result of Defendant’s willful and/or knowing violations of 47
 5              U.S.C. §227(b)(1), Plaintiff and the ATDS Class and ATDS
 6              Revocation Class members are entitled to and request treble damages,
 7              as provided by statute, up to $1,500, for each and every violation,
 8              pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
 9             • Any and all other relief that the Court deems just and proper.
10                          THIRD CAUSE OF ACTION
11       Negligent Violations of the Telephone Consumer Protection Act
12                                   47 U.S.C. §227(c)
13             • As a result of Defendant’s negligent violations of 47 U.S.C.
14              §227(c)(5), Plaintiff and the DNC Class and DNC Revocation Class
15              members are entitled to and request $500 in statutory damages, for
16              each and every violation, pursuant to 47 U.S.C. 227(c)(5).
17             • Any and all other relief that the Court deems just and proper.
18                         FOURTH CAUSE OF ACTION
19   Knowing and/or Willful Violations of the Telephone Consumer Protection
20                                         Act
21                                   47 U.S.C. §227(c)
22             • As a result of Defendant’s willful and/or knowing violations of 47
23              U.S.C. §227(c)(5), Plaintiff and the DNC Class and DNC Revocation
24              Class members are entitled to and request treble damages, as provided
25              by statute, up to $1,500, for each and every violation, pursuant to 47
26              U.S.C. §227(c)(5).
27             • Any and all other relief that the Court deems just and proper.
28       60.    Pursuant to the Seventh Amendment to the Constitution of the United


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 1   States of America, Plaintiff is entitled to, and demands, a trial by jury.
 2
 3
 4         Respectfully Submitted this 22nd Day of October, 2020.
 5                              LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 6
                                       By: /s/ Todd M. Friedman
 7                                         Todd M. Friedman
 8
                                           Law Offices of Todd M. Friedman
                                           Attorney for Plaintiff
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